                                  VACATE the order denying preliminary injunctive relief AND
                    REMAND this matter to the district court for further proceedings
                    consistent with this order.




                                                                Hardesty


                                                                            /.744-1
                                                                Douglas



                    CHERRY, J., concurring:
                                  For the reasons stated in the SFR Investments Pool 1, LLC v.
                    U.S. Bank, N.A.,    130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                    that respondent lost its lien priority by virtue of the homeowners
                    association's nonjudicial foreclosure sale. I recognize, however, that SFR
                    Investments    is now the controlling law and, thusly, concur in the
                    disposition of this appeal.



                                                                Cherry
                                                                      C h2artAte.          , J.




                    cc: Hon. Allan R Earl, District Judge
                         Howard Kim &amp; Associates
                         Ballard Spahr, LLP
                         Eighth District Court Clerk




SUPREME COURT
       OF
    NEVADA
                                                          2
(0) 1947A skiej(4
